
WELLS, J.,
dissenting.
The Attorney General has requested the Court for a review only as to whether the financial impact statement prepared by the Financial Impact Estimating Conference is in accordance with section 100.371(6), Florida Statutes (2004). This scope of review tracks the language of the statute.
The statute requires only that there be “a clear and unambiguous financial impact statement, no more than 75 words in length.” § 100.371(6)(b)(3), Fla. Stat. Therefore, the scope of the requested review is necessarily limited to whether the financial impact statement is “clear and unambiguous,” and contains no more than seventy-five words. I do not find the fi*689nancial impact statement unclear, ambiguous, or more than seventy-five words in length. Therefore, I find no basis for rejecting the financial impact statement. I would approve the statement for placement on the ballot.
I conclude that the majority has exceeded the scope of review requested by the Attorney General and contemplated in the statute.
In response to the specially concurring opinion, I do not believe that this Court has jurisdiction in this proceeding to decide the issue which that opinion argues.
